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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                         §
                                                 §
versus                                           §          CASE NO. 4:16-CR-34
                                                 §
ALEJANDRO LUA-MENDOZA (5)                        §


         ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

         The court referred this matter to the Honorable Kimberly C. Priest Johnson, United States

Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

Criminal Procedure. Judge Johnson conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued her Findings of Fact and Recommendation on

Guilty Plea before the United States Magistrate Judge Kimberly C. Priest Johnson. The magistrate

judge recommended that the court accept the Defendant’s guilty plea. She further recommended

that the court adjudge the Defendant guilty on Count Three of the Second Superseding Indictment

filed against the Defendant.

         The parties have not objected to the magistrate judge’s findings. The court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

Kimberly C. Priest Johnson are ADOPTED. The court accepts the Defendant’s plea but defers

acceptance of the plea agreement until after review of the presentence report. It is further

ORDERED, that in accordance with the Defendant’s guilty plea and the magistrate judge’s

findings and recommendation, the Defendant, Alejandro Lua-Mendoza, is adjudged guilty of the

charged offense under Title 21, United States Code, Section 846.
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       .
       SIGNED at Beaumont, Texas, this 7th day of September, 2004.
       SIGNED at Beaumont, Texas, this 14th day of February, 2017.




                                      ________________________________________
                                                  MARCIA A. CRONE
                                           UNITED STATES DISTRICT JUDGE




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